86 F.3d 1149
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael O. GAINEY, Petitioner-Appellant,v.VIRGINIA PAROLE BOARD, Respondent-Appellee.
    No. 96-6430.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 30, 1996.Decided:  May 21, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   Robert R. Merhige, Jr., Senior District Judge.  (CA-96-77)
      Michael O. Gainey, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before WILLIAMS and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Gainey v. Virginia Parole Bd., No. CA-96-77 (E.D.Va. Feb. 7, 1996).   We deny Appellant's "Motion to Release" and motion for appointment of counsel.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    